Case 1:20-cv-23598-KMW Document 39 Entered on FLSD Docket 07/08/2021 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:20cv23598 WILLIAMS / TORRES


  ERIC MATUTE CASTRO and R.Y.M.R.,

                 Plaintiffs,

         vs.

  UNITED STATES OF AMERICA,

              Defendant.
  ____________________________________/

            JOINT STATUS REPORT AND JOINT MOTION TO EXTEND STAY

         Pursuant to Rule 7(b) of the Federal Rules of Civil Procedure, SDFL Local Rule 26.1(e)

  and this Court’s May 19, 2021 paperless order [Dkt. 38] granting the parties’ prior motion to stay

  [Dkt. 37], the parties, by and through their undersigned counsel jointly:

     1) file the following status report; and

     2) move the Court for an order extending the current litigation stay by an additional sixty (60)

         days, during which time the parties will continue to explore settlement.

  In support of the requested relief, the parties respectfully state the following:

         Plaintiffs in pending Federal Tort Claims Act lawsuits in multiple district courts related to

  the separation of families at the United States border (the “Family Separation Cases”) are currently

  engaged in settlement discussions with the United States. The parties in this case are included in

  those discussions. In order to more fully focus their attention on these settlement efforts, earlier

  this year several of the parties in the Family Separation Cases agreed to seek a stay in each of the

  cases. Pursuant to this agreement, on May 19, 2021 the parties in the instant case filed a joint

  motion to stay [Dkt. 37]. The Court granted the parties’ motion [Dkt. 38], and stayed this matter

                                                    1
Case 1:20-cv-23598-KMW Document 39 Entered on FLSD Docket 07/08/2021 Page 2 of 4




  for sixty days (through July 19, 2021). The Court further directed the parties to file a status report

  if, by the end of the sixty-day stay, the parties had not reached a settlement.

         Good cause exists to extend the stay this matter. The Family Separation cases involve

  related issues and ongoing settlement discussions in the different cases may require substantial

  coordination, time, and effort. Since the initial stay was entered in this matter, the United States,

  along with a group of counsel who are coordinating negotiations on behalf of plaintiffs and

  claimants, have engaged in a nationwide effort to settle district court cases and pending

  administrative tort claims arising from family separations at the U.S./Mexico border that occurred

  during the prior administration. While significant progress has been made, due to the scale and

  complexity of the effort, additional time is needed to achieve a global resolution of these matters.

         Wherefore, the parties have agreed to seek an order from the Court extending the current

  stay in this matter for an additional sixty (60) days from the current expiration date of July 19,

  2021, during which the parties’ good faith settlement discussions will continue.

         A proposed order is submitted contemporaneously to the instant motion.

                    CERTIFICATE PURSUANT TO S.D. FLA. L.R. 7.1(a)(3)

         I HEREBY CERTIFY that counsel for Plaintiffs and the United States have conferred

  regarding this status report and motion, and agree to the relief requested herein. The party

  submitting this document has obtained the permission of all signatories hereto.

  Respectfully submitted on July 8, 2021.

                                                        JUAN ANTONIO GONZALEZ
                                                        ACTING UNITED STATES
                                                        ATTORNEY

                                                 By:    /s/ John S. Leinicke
                                                        JOHN S. LEINICKE
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                                                    2
Case 1:20-cv-23598-KMW Document 39 Entered on FLSD Docket 07/08/2021 Page 3 of 4




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                                          3
Case 1:20-cv-23598-KMW Document 39 Entered on FLSD Docket 07/08/2021 Page 4 of 4




                                  CERTIFICATE OF SERVICE

  I hereby certify that on July 8, 2021, I electronically transmitted the attached document to the

  Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing

  to all CM/ECF registrants.

                                                      /s/ John S. Leinicke
                                                      JOHN S. LEINICKE
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                                                  4
